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                                                                  November 2, 2022

Via E-filing CM/ECF
Nathan Ochsner, Clerk of the Court
U.S. District Court, Southern District of Texas
ATTN: JUDGE HITTNER
515 Rusk Avenue
Houston, Texas 77002

Re:       John Doe v Prairie View A&M University, et al., Civil Action No.: 4:22-cv-01019, in the
          United States District Court for the Southern District of Texas, Houston Division

Dear Clerk:

        Please be advised that I will be out of the office on vacation from December 16, 2022 –
January 2, 2023. As such, I respectfully request that no documents be filed nor matters set for
hearing that require a timed response or an appearance which would occur during or include the
period I will be away.

        Should you need to contact me during this time, please feel free to contact my legal
assistant, Rosie Luna, at (512) 936-2143 or rosalinda.luna@oag.texas.gov. Thank you for your
attention and assistance.

                                                                              Sincerely,

                                                                              /s/ Benjamin Lyles
                                                                              Assistant Attorney General
                                                                              General Litigation Division

cc:       All counsel of record – via e-filing




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